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                                                                         3                                  UNITED STATES DISTRICT COURT
                                                                         4                                NORTHERN DISTRICT OF CALIFORNIA
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                                                                         6   In re DYNAMIC RANDOM ACCESS                                   No. M-02-1486 PJH (JCS)
                                                                             MEMORY (DRAM) ANTITRUST
                                                                         7   LITIGATION,
                                                                         8   ___________________________________                           ORDER DENYING
                                                                                                                                           MOTION TO COMPEL
                                                                         9   This document relates to:
                                                                 10          ALL ACTIONS.
United States District Court




                                                                 11          ___________________________________/
                                                                 12                 By letter dated May 30, 2006, Direct Purchaser Plaintiffs and Defendants brought to the
                                                                 13          Court’s attention a dispute concerning the discovery of information pertaining to “Plaintiffs’
                               For the Northern District of California




                                                                 14          contracts with their DRAM customers, about how Plaintiffs determined the amounts they charged, or
                                                                 15          about the amounts they charged in relation to what they paid for DRAM.” Joint Letter of May 30,
                                                                 16          2006, at 1. Having reviewed the arguments of counsel, the Court rules as follows:
                                                                 17                 Treating the Joint Letter as a motion to compel, it is DENIED. See In re Vitamins Antitrust
                                                                 18          Litig., 198 F.R.D. 296, 301 (D.D.C. 2000). While the Court cautions the parties that while, in
                                                                 19          general, instructions not to answer on relevance grounds are not permitted by the DISCOVERY
                                                                 20          PLAN, the objection in question was raised before the DISCOVERY PLAN. Nonetheless,
                                                                 21          Defendants have waited until after the hearing on class certification to raise the issue with the Court.
                                                                 22          The Court concludes that any marginal relevance that responses to the questions at issue might have
                                                                 23          to the Direct Purchaser cases is outweighed by the unnecessary burden this discovery would impose
                                                                 24          on the parties.
                                                                 25                 IT IS SO ORDERED.
                                                                 26          Dated: June 1, 2006
                                                                 27                                                                JOSEPH C. SPERO
                                                                                                                                   United States Magistrate Judge
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